     Case: 1:24-cv-00091 Document #: 47 Filed: 03/15/24 Page 1 of 2 PageID #:1681


                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HOWARD ROBINSON,

       Plaintiff,                                               Case No.: 1:24-cv-00091

v.                                                              Judge Elaine E. Bucklo

THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Young B. Kim
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
               168                                   YALKIN Direct


DATED: March 15, 2024                               Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
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                                                    33 W. Jackson Blvd., #2W
                                                    Chicago, Illinois 60604
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                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-00091 Document #: 47 Filed: 03/15/24 Page 2 of 2 PageID #:1682


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 15, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
